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    1   John S. Kyle, Esq. (SBN 199196)
        jkyle@klhipbiz.com
    2   Laura K. Gantney, Esq. (SBN 199297)
        lgantney@klhipbiz.com
    3   KYLE HARRIS LLP
        2305 Historic Decatur Road, Suite 100
    4   San Diego, CA 91206
        Tel: (619) 600-0086
    5
        Attorneys for Plaintiff
    6   MOBILE TECH, INC.
    7

    8
                                 UNITED STATES DISTRICT COURT
    9
                             CENTRAL DISTRICT OF CALIFORNIA
   10
                                      SOUTHERN DIVISION
   11

   12
        MOBILE TECH, INC.,                          Case No. 8:21-cv-00461-CJC-ADS
   13
                    Plaintiff,
   14
                    v.                              STIPULATED PROTECTIVE ORDER
   15

   16   HITACHI SOLUTIONS AMERICA,
        LTD.,
   17
                    Defendant.
   18

   19

   20   I.    PURPOSES AND LIMITATIONS
   21         A.    Discovery in this action is likely to involve production of confidential,
   22
              proprietary, or private information for which special protection from public
   23
              disclosure and from use for any purpose other than prosecuting this litigation
   24
              may be warranted. Accordingly, the parties hereby stipulate to and petition the
   25
              Court to enter the following Stipulated Protective Order. The parties
   26

   27         acknowledge that this Order does not confer blanket protections on all

   28         disclosures or responses to discovery and that the protection it affords from

                                  STIPULATED PROTECTIVE ORDER
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                                         1         public disclosure and use extends only to the limited information or items that
                                         2         are entitled to confidential treatment under the applicable legal principles. The
                                         3
                                                   parties further acknowledge, as set forth in Section XIII(C), below, that this
                                         4
                                                   Stipulated Protective Order does not entitle them to file confidential information
                                         5
                                                   under seal; Civil Local Rule 79-5 sets forth the procedures that must be followed
                                         6
                                                   and the standards that will be applied when a party seeks permission from the
                                         7

                                         8         Court to file material under seal.

                                         9   II.   GOOD CAUSE STATEMENT
                                        10         A.     This action is likely to involve trade secrets, customer and pricing lists, and
                                        11
                                                   other valuable research, development, commercial, financial, technical and/or
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                                        12
                                                   proprietary information for which special protection from public disclosure and
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                                                   from use for any purpose other than prosecution of this action is warranted.
                                        14
                                                   Such confidential and proprietary materials and information consist of, among
                                        15

                                        16         other things, confidential business or financial information, information

                                        17         regarding confidential business practices, or other confidential research,

                                        18         development, or commercial information (including information implicating
                                        19         privacy rights of third parties), information or materials of a third party to whom
                                        20
                                                   a party reasonably believes it owes an obligation of confidentiality with respect to
                                        21
                                                   such information or materials, information otherwise generally unavailable to the
                                        22
                                                   public, or which may be privileged or otherwise protected from disclosure under
                                        23

                                        24         state or federal statutes, court rules, case decisions, or common law. Accordingly,

                                        25         to expedite the flow of information, to facilitate the prompt resolution of disputes

                                        26         over confidentiality of discovery materials, to adequately protect information the
                                        27         parties are entitled to or are obligated to keep confidential, to ensure that the
                                        28
                                                   parties are permitted reasonable necessary uses of such material in preparation

                                                                                         2
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                                         1          for and in the conduct of trial, to address their handling at the end of the
                                         2          litigation, and serve the ends of justice, a protective order for such information is
                                         3
                                                    justified in this matter. It is the intent of the parties that information will not be
                                         4
                                                    designated as confidential for tactical reasons and that nothing be so designated
                                         5
                                                    without a good faith belief that it has been maintained in a confidential, non-
                                         6
                                                    public manner, and there is good cause why it should not be part of the public
                                         7

                                         8          record of this case.

                                         9   III.   DEFINITIONS
                                        10          A.     Action: This pending federal lawsuit.
                                        11
                                                    B.     Challenging Party: A Party or Non-Party that challenges the designation
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                                        12
                                                    of information or items under this Order.
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                                                    C.     “CONFIDENTIAL” Information or Items: Information (regardless of how
                                        14
                                                    it is generated, stored or maintained) or tangible things that qualify for
                                        15

                                        16          protection under Federal Rule of Civil Procedure 26(c), and as specified above in

                                        17          the Good Cause Statement.

                                        18          D.     “RESTRICTED CONFIDENTIAL – ATTORNEYS’ EYES ONLY”
                                        19          Information or Items: Information (regardless of how it is generated stored or
                                        20
                                                    maintained) or tangible things that qualify for protection under Federal Rule of
                                        21
                                                    Civil Procedure 26(c), and as specified above in the Good Cause Statement, which
                                        22
                                                    is so sensitive that its dissemination deserves even further limitation.
                                        23

                                        24          E.     Counsel: Outside Counsel of Record and House Counsel (as well as their

                                        25          support staff and any persons working for them as independent contractors).

                                        26          F.     Designating Party: A Party or Non-Party that designates information or
                                        27          items that it produces in disclosures or in responses to discovery as
                                        28

                                                                                           3
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                                         1   “CONFIDENTIAL” or as “RESTRICTED CONFIDENTIAL – ATTORNEYS’ EYES
                                         2   ONLY.”
                                         3
                                             G.     Disclosure or Discovery Material: All items, documents or information,
                                         4
                                             regardless of the medium or manner in which it is generated, stored, or
                                         5
                                             maintained (including, among other things, testimony, transcripts, and tangible
                                         6
                                             things), that are produced or generated in disclosures or responses to discovery
                                         7

                                         8   in this matter.

                                         9   H.     Expert: A person with specialized knowledge or experience in a matter
                                        10   pertinent to the litigation who has been retained by a Party or its counsel to serve
                                        11
                                             as an expert witness or as a consultant in this Action.
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                                        12
                                             I.     House Counsel: Attorneys who are employees of a party to this Action.
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                                             House Counsel does not include Outside Counsel of Record or any other outside
                                        14
                                             counsel.
                                        15

                                        16   J.     Non-Party: Any natural person, partnership, corporation, association, or

                                        17   other legal entity not named as a Party to this action.

                                        18   K.     Outside Counsel of Record: Attorneys who are not employees of a party to
                                        19   this Action but are retained to represent or advise a party to this Action and have
                                        20
                                             appeared in this Action on behalf of that party or are affiliated with a law firm
                                        21
                                             which has appeared on behalf of that party, and includes persons working as
                                        22
                                             independent contractors as well as support staff.
                                        23

                                        24   L.     Party: Any party to this Action, including all of its officers, directors,

                                        25   employees, consultants, retained experts, and Outside Counsel of Record (and

                                        26   their support staffs).
                                        27   M.     Producing Party: A Party or Non-Party that produces Disclosure or
                                        28
                                             Discovery Material in this Action.

                                                                                    4
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                                         1         N.     Professional Vendors: Persons or entities that provide litigation support
                                         2         services (e.g., photocopying, videotaping, translating, preparing exhibits or
                                         3
                                                   demonstrations, and organizing, storing, or retrieving data in any form or
                                         4
                                                   medium) and their employees and subcontractors.
                                         5
                                                   O.     Protected Material: Any Disclosure or Discovery Material that is
                                         6
                                                   designated as “CONFIDENTIAL” or as “RESTRICTED CONFIDENTIAL –
                                         7

                                         8         ATTORNEYS’ EYES ONLY.”

                                         9         P.     Receiving Party: A Party that receives Disclosure or Discovery Material
                                        10         from a Producing Party.
                                        11
                                             IV.   SCOPE
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                                        12
                                                   A.     The protections conferred by this Stipulation and Order cover not only
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                                                   Protected Material (as defined above), but also (1) any information copied or
                                        14
                                                   extracted from Protected Material; (2) all copies, excerpts, summaries, or
                                        15

                                        16         compilations of Protected Material; and (3) any testimony, conversations, or

                                        17         presentations by Parties or their Counsel that might reveal Protected Material.

                                        18         B.     Any use of Protected Material at trial shall be governed by the orders of
                                        19         the trial judge. This Order does not govern the use of Protected Material at trial.
                                        20
                                             V.    DURATION
                                        21
                                                   Even after final disposition of this litigation, the confidentiality obligations
                                        22
                                                   imposed by this Order shall remain in effect until a Designating Party agrees
                                        23

                                        24         otherwise in writing or a court order otherwise directs. Final disposition shall be

                                        25         deemed to be the later of (1) dismissal of all claims and defenses in this Action,

                                        26         with or without prejudice; and (2) final judgment herein after the completion and
                                        27         exhaustion of all appeals, rehearings, remands, trials, or reviews of this Action,
                                        28

                                                                                          5
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                                         1         including the time limits for filing any motions or applications for extension of
                                         2         time pursuant to applicable law.
                                         3
                                             VI.   DESIGNATING PROTECTED MATERIAL
                                         4
                                                   A.     Exercise of Restraint and Care in Designating Material for Protection
                                         5
                                                          1.     Each Party or Non-Party that designates information or items for
                                         6
                                                          protection under this Order must take care to limit any such designation to
                                         7

                                         8                specific material that qualifies under the appropriate standards. The

                                         9                Designating Party must designate for protection only those parts of
                                        10                material, documents, items, or oral or written communications that
                                        11
                                                          qualify so that other portions of the material, documents, items, or
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                                        12
                                                          communications for which protection is not warranted are not swept
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                                                          unjustifiably within the ambit of this Order.
                                        14
                                                          2.     Mass, indiscriminate, or routinized designations are prohibited.
                                        15

                                        16                Designations that are shown to be clearly unjustified or that have been

                                        17                made for an improper purpose (e.g., to unnecessarily encumber the case

                                        18                development process or to impose unnecessary expenses and burdens on
                                        19                other parties) may expose the Designating Party to sanctions.
                                        20
                                                          3.     If it comes to a Designating Party’s attention that information or
                                        21
                                                          items that it designated for protection do not qualify for protection, that
                                        22
                                                          Designating Party must promptly notify all other Parties that it is
                                        23

                                        24                withdrawing the inapplicable designation.

                                        25         B.     Manner and Timing of Designations

                                        26                1.     Except as otherwise provided in this Order (see, e.g., Section
                                        27                B(2)(b) below), or as otherwise stipulated or ordered, Disclosure or
                                        28

                                                                                         6
                                                                      STIPULATED PROTECTIVE ORDER
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                                         1    Discovery Material that qualifies for protection under this Order must be
                                         2    clearly so designated before the material is disclosed or produced.
                                         3
                                              2.    Designation in conformity with this Order requires the following:
                                         4
                                                    a.     For information in documentary form (e.g., paper or
                                         5
                                                    electronic documents, but excluding transcripts of depositions or
                                         6
                                                    other pretrial or trial proceedings), that the Producing Party affix at
                                         7

                                         8          a minimum, the legend “CONFIDENTIAL” (hereinafter

                                         9          “CONFIDENTIAL legend”) or “RESTRICTED CONFIDENTIAL –
                                        10          ATTORNEYS’ EYES ONLY” (hereinafter “RESTRICTED
                                        11
                                                    CONFIDENTIAL – ATTORNEYS’ EYES ONLY legend”), to each
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                                        12
                                                    page that contains protected material. If only a portion or portions
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                                                    of the material on a page qualifies for protection, the Producing
                                        14
                                                    Party also must clearly identify the protected portion(s) (e.g., by
                                        15

                                        16          making appropriate markings in the margins).

                                        17          b.     A Party or Non-Party that makes original documents

                                        18          available for inspection need not designate them for protection
                                        19          until after the inspecting Party has indicated which documents it
                                        20
                                                    would like copied and produced. During the inspection and before
                                        21
                                                    the designation, all of the material made available for inspection
                                        22
                                                    shall be deemed “CONFIDENTIAL.” After the inspecting Party has
                                        23

                                        24          identified the documents it wants copied and produced, the

                                        25          Producing Party must determine which documents, or portions

                                        26          thereof, qualify for protection under this Order. Then, before
                                        27          producing the specified documents, the Producing Party must affix
                                        28
                                                    the “CONFIDENTIAL legend” or the “RESTRICTED

                                                                            7
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                                         1          CONFIDENTIAL – ATTORNEYS’ EYES ONLY legend”, as
                                         2          appropriate, to each page that contains Protected Material. If only
                                         3
                                                    a portion or portions of the material on a page qualifies for
                                         4
                                                    protection, the Producing Party also must clearly identify the
                                         5
                                                    protected portion(s) (e.g., by making appropriate markings in the
                                         6
                                                    margins).
                                         7

                                         8          c.     For testimony given in depositions or at hearings, that the

                                         9          Designating Party use its best efforts to identify the Disclosure or
                                        10          Discovery Material on the record, before the close of the deposition
                                        11
                                                    or the conclusion of the hearing all protected testimony, but the
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                                        12
                                                    Designating Party shall also have thirty (30) days after receipt of a
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                                                    final deposition or hearing transcript to designate the deposition or
                                        14
                                                    hearing transcript or any portion thereof as “CONFIDENTIAL” or
                                        15

                                        16          as “RESTRICTED CONFIDENTIAL – ATTORNEYS’ EYES ONLY”

                                        17          pursuant to this Order. Access to the deposition or hearing

                                        18          transcript so designated shall be limited in accordance with the
                                        19          terms of this Order.
                                        20
                                                    d.     For information produced in form other than document and
                                        21
                                                    for any other tangible items, that the Producing Party affix in a
                                        22
                                                    prominent place on the exterior of the container or containers in
                                        23

                                        24          which the information is stored the legend “CONFIDENTIAL” or

                                        25          “RESTRICTED CONFIDENTIAL – ATTORNEYS’ EYES ONLY” as

                                        26          appropriate. If only a portion or portions of the information
                                        27          warrants protection, the Producing Party, to the extent practicable,
                                        28
                                                    shall identify the protected portion(s).

                                                                            8
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                                         1          C.   Inadvertent Failure to Designate
                                         2               If timely corrected, an inadvertent failure to designate qualified
                                         3
                                                         information or items does not, standing alone, waive the Designating
                                         4
                                                         Party’s right to secure protection under this Order for such material.
                                         5
                                                         Upon timely correction of a designation, the Receiving Party must make
                                         6
                                                         reasonable efforts to assure that the material is treated in accordance with
                                         7

                                         8               the provisions of this Order. Any Party that inadvertently or

                                         9               unintentionally produces items, documents or information that could have
                                        10               been designated as Protected Material but was not designated as Protected
                                        11
                                                         Material may request destruction of those items, documents or
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                                        12
                                                         information by notifying the recipient(s) as soon as reasonably possible
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                                                         after the Designating Party becomes aware of the inadvertent or
                                        14
                                                         unintentional disclosure, and providing replacement items, documents or
                                        15

                                        16               information that is properly designated as Protected Material. The

                                        17               recipient(s) shall then destroy the original together with all copies of the

                                        18               inadvertently or unintentionally produced items, documents or
                                        19               information, including any and all documents, information or material
                                        20
                                                         containing information or extracts derived from or based on the Protected
                                        21
                                                         Material.
                                        22
                                             VII.   CHALLENGING CONFIDENTIALITY DESIGNATIONS
                                        23

                                        24          A.   Timing of Challenges

                                        25               1.       Any party or Non-Party may challenge a designation of

                                        26               confidentiality at any time that is consistent with the Court’s Scheduling
                                        27               Order.
                                        28
                                                    B.   Meet and Confer

                                                                                        9
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                                         1              1.     The Challenging Party shall initiate the dispute resolution process
                                         2              under Local Rule 37.1 et seq.
                                         3
                                                 C.     The burden of persuasion in any such challenge proceeding shall be on the
                                         4
                                                 Designating Party. Frivolous challenges, and those made for an improper
                                         5
                                                 purpose (e.g., to harass or impose unnecessary expenses and burdens on other
                                         6
                                                 parties) may expose the Challenging Party to sanctions. Unless the Designating
                                         7

                                         8       Party has waived or withdrawn the confidentiality designation, all parties shall

                                         9       continue to afford the material in question the level of protection to which it is
                                        10       entitled under the Designating Party’s designation until the Court rules on the
                                        11
                                                 challenge.
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                                             VIII. ACCESS TO AND USE OF PROTECTED MATERIAL
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                                                 A.     Basic Principles
                                        14
                                                        1.     A Receiving Party may use Protected Material that is disclosed or
                                        15

                                        16              produced by another Party or by a Non-Party in connection with this

                                        17              Action only for prosecuting, defending, or attempting to settle this Action.

                                        18              Such Protected Material may be disclosed only to the categories of persons
                                        19              and under the conditions described in this Order. When the Action has
                                        20
                                                        been terminated, a Receiving Party must comply with the provisions of
                                        21
                                                        Section XIV below.
                                        22
                                                        2.     Protected Material must be stored and maintained by a Receiving
                                        23

                                        24              Party at a location and in a secure manner that ensures that access is

                                        25              limited to the persons authorized under this Order.

                                        26       B.     Disclosure of “CONFIDENTIAL” Information or Items
                                        27

                                        28

                                                                                        10
                                                                    STIPULATED PROTECTIVE ORDER
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                                         1   1.    Unless otherwise ordered by the Court or permitted in writing by
                                         2   the Designating Party, a Receiving Party may disclose any information or
                                         3
                                             item designated “CONFIDENTIAL” only to:
                                         4
                                                   a.     The Receiving Party’s Outside Counsel of Record in this
                                         5
                                                   Action, as well as employees and independent contractors of said
                                         6
                                                   Outside Counsel of Record to whom it is reasonably necessary to
                                         7

                                         8         disclose the information for this Action;

                                         9         b.     The officers, directors, and employees (including House
                                        10         Counsel) of the Receiving Party to whom disclosure is reasonably
                                        11
                                                   necessary for this Action;
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                                        12
                                                   c.     Experts (as defined in this Order) of the Receiving Party to
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                                                   whom disclosure is reasonably necessary for this Action and who
                                        14
                                                   have signed the “Acknowledgment and Agreement to Be Bound”
                                        15

                                        16         (Exhibit A);

                                        17         d.     The Court and its personnel;

                                        18         e.     Court reporters and their staff;
                                        19         f.     Professional jury or trial consultants, mock jurors, and
                                        20
                                                   Professional Vendors to whom disclosure is reasonably necessary or
                                        21
                                                   this Action and who have signed the “Acknowledgment and
                                        22
                                                   Agreement to be Bound” attached as Exhibit A hereto;
                                        23

                                        24         g.     The author or prior recipient of a document containing the

                                        25         information or a custodian or other person who otherwise

                                        26         previously possessed or knew the information;
                                        27         h.     During their depositions, witnesses, and attorneys for
                                        28
                                                   witnesses, in the Action to whom disclosure is reasonably necessary

                                                                          11
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                                         1               provided: (i) the deposing party requests that the witness sign the
                                         2               “Acknowledgment and Agreement to Be Bound;” and (ii) they will
                                         3
                                                         not be permitted to keep any confidential information unless they
                                         4
                                                         sign the “Acknowledgment and Agreement to Be Bound,” unless
                                         5
                                                         otherwise agreed by the Designating Party or ordered by the Court.
                                         6
                                                         Pages of transcribed deposition testimony or exhibits to depositions
                                         7

                                         8               that reveal Protected Material may be separately bound by the court

                                         9               reporter and may not be disclosed to anyone except as permitted
                                        10               under this Stipulated Protective Order; and
                                        11
                                                         i.     Any mediator or settlement officer, and their supporting
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                                                         personnel, mutually agreed upon by any of the parties engaged in
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                                                         settlement discussions.
                                        14
                                             C.    Disclosure of “RESTRICTED CONFIDENTIAL – ATTORNEYS’ EYES
                                        15

                                        16   ONLY” Information or Items

                                        17         1.    Unless otherwise ordered by the Court or permitted in writing by

                                        18         the Designating Party, for any information or item designated
                                        19         “RESTRICTED CONFIDENTIAL – ATTORNEYS’ EYES ONLY,” access to,
                                        20
                                                   and disclosure of, such Protected Material shall be limited to individuals
                                        21
                                                   listed above in Paragraphs B(1)(a) and B(1)(c-i).
                                        22
                                                   2.    There shall be no disclosure of any information or item designated
                                        23

                                        24         “RESTRICTED CONFIDENTIAL – ATTORNEYS’ EYES ONLY” by any

                                        25         person authorized to have access thereto to any person who is not

                                        26         authorized for such access under this Order. The Parties are hereby
                                        27         ORDERED to safeguard all such documents, information, and material to
                                        28
                                                   protect against disclosure to any unauthorized persons or entities.

                                                                                 12
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                                         1          D.     Nothing contained herein shall be construed to prejudice any Party’s right
                                         2   to use any Protected Material in taking testimony at any deposition or hearing provided
                                         3
                                             that the Protected Material is only disclosed to a person(s) who is: (i) eligible to have
                                         4
                                             access to the Protected Material by virtue of his or her employment with the Designating
                                         5
                                             Party; (ii) identified in the Protected Material as an author, addressee, or copy recipient
                                         6
                                             of such information; (iii) although not identified as an author, addressee, or copy
                                         7

                                         8   recipient of such Protected Material, has, in the ordinary course of business, seen such

                                         9   Protected Material; (iv) a current or former officer, director, or employee of the
                                        10   Designating Party or a current or former officer, director or employee of a company
                                        11
                                             affiliated with the Designating Party; (v) Outside Counsel of Record for a Party; (vi) an
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                                        12
                                             independent contractor, consultant, and/or expert retained for the purpose of this
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                                             litigation authorized under Paragraphs B(1)(c) above; (vii) court reporters and
                                        14
                                             videographers; (viii) the Court; or (ix) other persons entitled hereunder to access to the
                                        15

                                        16   Protected Material. Protected Material shall not be disclosed to any other persons

                                        17   unless prior authorization is obtained from counsel representing the Designating Party

                                        18   or from the Court.
                                        19   IX.    PROTECTED MATERIAL SUBPOENAED OR ORDERED PRODUCED
                                        20
                                                    IN OTHER LITIGATION
                                        21
                                                    A.     If a Party is served with a subpoena or a court order issued in other
                                        22
                                                    litigation that compels disclosure of any information or items designated in this
                                        23

                                        24          Action as “CONFIDENTIAL” or as “RESTRICTED CONFIDENTIAL –

                                        25          ATTORNEYS’ EYES ONLY,” that Party must:

                                        26                 1.     Promptly notify in writing the Designating Party. Such notification
                                        27                 shall include a copy of the subpoena or court order;
                                        28

                                                                                          13
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                                         1               2.     Promptly notify in writing the party who caused the subpoena or
                                         2               order to issue in the other litigation that some or all of the material
                                         3
                                                         covered by the subpoena or order is subject to this Protective Order. Such
                                         4
                                                         notification shall include a copy of this Stipulated Protective Order; and
                                         5
                                                         3.     Cooperate with respect to all reasonable procedures sought to be
                                         6
                                                         pursued by the Designating Party whose Protected Material may be
                                         7

                                         8               affected.

                                         9        B.     If the Designating Party timely seeks a protective order, the Party served
                                        10        with the subpoena or court order shall not produce any information designated in
                                        11
                                                  this action as “CONFIDENTIAL” or as “RESTRICTED CONFIDENTIAL –
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                                        12
                                                  ATTORNEYS’ EYES ONLY” before a determination by the Court from which the
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                                                  subpoena or order issued, unless the Party has obtained the Designating Party’s
                                        14
                                                  permission. The Designating Party shall bear the burden and expense of seeking
                                        15

                                        16        protection in that court of its confidential material and nothing in these

                                        17        provisions should be construed as authorizing or encouraging a Receiving Party

                                        18        in this Action to disobey a lawful directive from another court.
                                        19   X.   A NON-PARTY’S PROTECTED MATERIAL SOUGHT TO BE
                                        20
                                                  PRODUCED IN THIS LITIGATION
                                        21
                                                  A.     The terms of this Order are applicable to information produced by a Non-
                                        22
                                                  Party in this Action and designated as “CONFIDENTIAL” or as “RESTRICTED
                                        23

                                        24        CONFIDENTIAL – ATTORNEYS’ EYES ONLY.” Such information produced by

                                        25        Non-Parties in connection with this litigation is protected by the remedies and

                                        26        relief provided by this Order. Nothing in these provisions should be construed as
                                        27        prohibiting a Non-Party from seeking additional protections.
                                        28

                                                                                        14
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                                         1         B.     In the event that a Party is required, by a valid discovery request, to
                                         2         produce a Non-Party’s confidential information in its possession, and the Party is
                                         3
                                                   subject to an agreement with the Non-Party not to produce the Non-Party’s
                                         4
                                                   confidential information, then the Party shall:
                                         5
                                                          1.     Promptly notify in writing the Requesting Party and the Non-Party
                                         6
                                                          that some or all of the information requested is subject to a confidentiality
                                         7

                                         8                agreement with a Non-Party;

                                         9                2.     Promptly provide the Non-Party with a copy of the Stipulated
                                        10                Protective Order in this Action, the relevant discovery request(s), and a
                                        11
                                                          reasonably specific description of the information requested; and
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                                        12
                                                          3.     Make the information requested available for inspection by the
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                                                          Non-Party, if requested.
                                        14
                                                   C.     If the Non-Party fails to seek a protective order from this court within 14
                                        15

                                        16         days of receiving the notice and accompanying information, the Receiving Party

                                        17         may produce the Non-Party’s confidential information responsive to the

                                        18         discovery request. If the Non-Party timely seeks a protective order, the Receiving
                                        19         Party shall not produce any information in its possession or control that is
                                        20
                                                   subject to the confidentiality agreement with the Non-Party before a
                                        21
                                                   determination by the court. Absent a court order to the contrary, the Non-Party
                                        22
                                                   shall bear the burden and expense of seeking protection in this court of its
                                        23

                                        24         Protected Material.

                                        25   XI.   UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL

                                        26         A.     If a Receiving Party learns that, by inadvertence or otherwise, it has
                                        27         disclosed Protected Material to any person or in any circumstance not authorized
                                        28
                                                   under this Stipulated Protective Order, the Receiving Party must immediately (1)

                                                                                         15
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                                         1       notify in writing the Designating Party of the unauthorized disclosures, (2) use its
                                         2       best efforts to retrieve all unauthorized copies of the Protected Material, (3)
                                         3
                                                 inform the person or persons to whom unauthorized disclosures were made of all
                                         4
                                                 the terms of this Order, and (4) request such person or persons to execute the
                                         5
                                                 “Acknowledgment and Agreement to be Bound” that is attached hereto as Exhibit
                                         6
                                                 A.
                                         7

                                         8   XII. INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE

                                         9       PROTECTED MATERIAL
                                        10       A.     When a Producing Party gives notice to Receiving Parties that certain
                                        11
                                                 inadvertently produced material is subject to a claim of privilege or other
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                                        12
                                                 protection, the obligations of the Receiving Parties are those set forth in Federal
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                                                 Rule of Civil Procedure 26(b)(5)(B). This provision is not intended to modify
                                        14
                                                 whatever procedure may be established in an e-discovery order that provides for
                                        15

                                        16       production without prior privilege review. Nothing in this Protective Order is

                                        17       meant to displace Federal Rule of Evidence 502(b). Pursuant to Federal

                                        18       Rule of Evidence 502(d) and (e), insofar as the parties reach an agreement on the
                                        19       effect of disclosure of a communication or information covered by the attorney-
                                        20
                                                 client privilege or work product protection, the parties may incorporate their
                                        21
                                                 agreement in the Stipulated Protective Order submitted to the Court.
                                        22
                                             XIII. MISCELLANEOUS
                                        23

                                        24       A.     Right to Further Relief

                                        25              1.     Nothing in this Order abridges the right of any person to seek its

                                        26              modification by the Court in the future.
                                        27       B.     Right to Assert Other Objections
                                        28

                                                                                       16
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                                         1              1.       By stipulating to the entry of this Protective Order, no Party waives
                                         2              any right it otherwise would have to object to disclosing or producing any
                                         3
                                                        information or item on any ground not addressed in this Stipulated
                                         4
                                                        Protective Order. Similarly, no Party waives any right to object on any
                                         5
                                                        ground to use in evidence of any of the material covered by this Protective
                                         6
                                                        Order.
                                         7

                                         8       C.     Filing Protected Material

                                         9              1.       A Party that seeks to file under seal any Protected Material must
                                        10              comply with Civil Local Rule 79-5. Protected Material may only be filed
                                        11
                                                        under seal pursuant to a court order authorizing the sealing of the specific
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                                        12
                                                        Protected Material at issue. If a Party's request to file Protected Material
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                                                        under seal is denied by the Court, then the Receiving Party may file the
                                        14
                                                        information in the public record unless otherwise instructed by the Court.
                                        15

                                        16   XIV. FINAL DISPOSITION

                                        17       A.     After the final disposition of this Action, as defined in Section V, within

                                        18       sixty (60) days of a written request by the Designating Party, each Receiving
                                        19       Party must return all Protected Material to the Producing Party or destroy such
                                        20
                                                 material. As used in this subdivision, “all Protected Material” includes all copies,
                                        21
                                                 abstracts, compilations, summaries, and any other format reproducing or
                                        22
                                                 capturing any of the Protected Material. Whether the Protected Material is
                                        23

                                        24       returned or destroyed, the Receiving Party must submit a written certification to

                                        25       the Producing Party (and, if not the same person or entity, to the Designating

                                        26       Party) by the 60 day deadline that (1) identifies (by category, where appropriate)
                                        27       all the Protected Material that was returned or destroyed and (2) affirms that the
                                        28
                                                 Receiving Party has not retained any copies, abstracts, compilations, summaries

                                                                                        17
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                                         1        or any other format reproducing or capturing any of the Protected Material.
                                         2        Notwithstanding this provision, Counsel are entitled to retain an archival copy of
                                         3
                                                  all pleadings, motion papers, trial, deposition, and hearing transcripts, legal
                                         4
                                                  memoranda, correspondence, deposition and trial exhibits, expert reports,
                                         5
                                                  attorney work product, and consultant and expert work product, even if such
                                         6
                                                  materials contain Protected Material. Any such archival copies that contain or
                                         7

                                         8        constitute Protected Material remain subject to this Protective Order as set forth

                                         9        in Section V.
                                        10        B.     Any violation of this Order may be punished by any and all appropriate
                                        11
                                                  measures including, without limitation, contempt proceedings and/or monetary
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                                        12
                                                  sanctions.
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                                        13
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                                             IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.
                                        14

                                        15
                                             Dated: May 27, 2022                             KYLE HARRIS LLP
                                        16

                                        17
                                                                                             By:    /s/ John S. Kyle
                                        18                                                         John S. Kyle, Esq.
                                                                                                   Laura K. Gantney, Esq.
                                        19

                                        20                                                         Attorneys for Plaintiff
                                        21
                                                                                                   MOBILE TECH, INC.

                                        22

                                        23

                                        24

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                                                                                        18
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                                         1   Dated: May 27, 2022                       COZEN O’CONNOR
                                         2

                                         3                                             By:     /s/ Chase A. Howard
                                         4                                                   Gregory J. Star (pro hac vice)
                                                                                             Joseph M. Kelleher (pro hac vice)
                                         5                                                   Chase A. Howard (pro hac vice)
                                         6                                                   1650 Market Street, Suite 2100
                                                                                             Philadelphia, PA 19103
                                         7                                                   Tel.: (215) 665-2147
                                         8                                                   gstar@cozen.com
                                                                                             jkelleher@cozen.com
                                         9                                                   chasehoward@cozen.com
                                        10
                                                                                             Attorneys for Defendant
                                        11                                                   HITACHI SOLUTIONS
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                                        12                                                   AMERICA, LTD.
         SAN DIEGO, CA 92106




                                        13
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                                             FOR GOOD CAUSE SHOWN, IT IS SO ORDERED.
                                        14

                                        15
                                             Dated:   May 31, 2022                    /s/ Autumn D. Spaeth
                                        16                                      HONORABLE AUTUMN D. SPAETH
                                                                                United States Magistrate Judge
                                        17

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                                                                     STIPULATED PROTECTIVE ORDER
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                                         1
                                                                         EXHIBIT A
                                         2                ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
                                         3

                                         4           I,                                  [print or type full name], of

                                         5                  [print or type full address], declare under penalty of perjury that I have
                                         6   read in its entirety and understand the Stipulated Protective Order that was issue by the
                                         7
                                             United States District Court for the Central District of California on [DATE] in the case
                                         8
                                             of                                   [insert formal name of the case and the number and
                                         9
                                             initials assigned to it by the Court]. I agree to comply with and to be bound by all the
                                        10
                                             terms of this Stipulated Protective Order and I understand and acknowledge that failure
                                        11
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                                        12   to so comply could expose me to sanctions and punishment in the nature of contempt. I
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                                        13   solemnly promise that I will not disclose in any manner any information or item that is
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                                        14   subject to this Stipulated Protective Order to any person or entity except in strict
                                        15
                                             compliance with the provisions of this Order.
                                        16
                                                     I further agree to submit to the jurisdiction of the United States District Court for
                                        17
                                             the Central District of California for the purpose of enforcing the terms of this Stipulated
                                        18
                                             Protective Order, even if such enforcement proceedings occur after termination of this
                                        19

                                        20   action. I hereby appoint                                  [print or type full name] of

                                        21                                [print or type full address and telephone number] as my

                                        22   California agent for service of process in connection with this action or any proceedings
                                        23   related to enforcement of this Stipulated Protective Order.
                                        24
                                             Date:
                                        25
                                             City and State where sworn and signed:
                                        26
                                             Printed Name:
                                        27

                                        28   Signature:


                                                                                           20
                                                                        STIPULATED PROTECTIVE ORDER
